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                                      UNITED STATES DISTRICT COURT
                                               EASTERN DISTRICT OF MISSOURI

 UNITED STATES OF AMERICA                                                 §      JUDGMENT IN A CRIMINAL CASE
                                                                          §
 v.                                                                       §
                                                                          §      Case Number: 4:23-CR-00270-HEA(1)
 JOSEPH R. GUTOWSKI                                                       §      USM Number: 61288-510
                                                                          §      Matthew A. Radefeld
                                                                          §      Defendant’s Attorney

THE DEFENDANT:
 ☒ pleaded guilty to count(s)                                    1 and 2 of the Indictment on July 22, 2024
       pleaded guilty to count(s) before a U.S. Magistrate
 ☐     Judge, which was accepted by the court.
       pleaded nolo contendere to count(s) which was
 ☐     accepted by the court
 ☐     was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                    Offense Ended       Count
 18 U.S.C. § 2251(a) and 18 U.S.C. § 2251(e)Production Of Child Pornography                             11/30/2022          1r
 18 U.S.C. § 2252A(a)(2) and 18 U.S.C. § 2252A(b)(1) Receipt of Child Pornography                       11/30/2022          2r




The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☐ Count(s) ☐ is ☐ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                   October 23, 2024
                                                                   Date of Imposition of Judgment




                                                                   Signature of Judge

                                                                   HENRY EDWARD AUTREY
                                                                   UNITED STATES DISTRICT JUDGE
                                                                   Name and Title of Judge

                                                                   October 23, 2024
                                                                   Date
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                                                     IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

240 months as to each count, to be served concurrently.

This sentence shall run concurrent with any sentence imposed in Circuit Court, St. Louis County, Missouri, under
Docket No. 22SL-CR09223-01.

 ☒ The court makes the following recommendations to the Bureau of Prisons:
        It is recommended that the defendant be placed at the facility located in Sandstone, MN or alternatively at the facility located
        in Elkton, OH or Seagoville, TX.

        While in the custody of the Bureau of Prisons, it is recommended the defendant be evaluated for participation in the Sex
        Offender Management Program (SOMP). It is further recommended the defendant be evaluated for participation in the
        mental health treatment. It is also recommended the defendant be evaluated for participation in an Occupational/Educational
        program, specifically, in commercial printing. Such recommendations are made to the extent they are consistent with the
        Bureau of Prisons policies.



 ☒ The defendant is remanded to the custody of the United States Marshal.


 ☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                     ☐     a.m.       ☐    p.m.      on

          ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ before 2 p.m. on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.




                                  MARSHALS RETURN MADE ON SEPARATE PAGE
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DEFENDANT:                JOSEPH R. GUTOWSKI
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                                               SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: life.

This term consists of a term of life on each of counts one and two, all such terms to run concurrently.


                                           MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   ☒    You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution. (check if applicable)
 5.   ☒    You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6.   ☒ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
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                               STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

 Defendant’s Signature                                                                             Date
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                                 SPECIAL CONDITIONS OF SUPERVISION
While on supervision, the defendant shall comply with the standard conditions that have been adopted by this Court and shall comply
with the following additional conditions. If it is determined there are costs associated with any services provided, the defendant shall
pay those costs based on a co-payment fee established by the probation office.

You must participate in a mental health treatment program and follow the rules and regulations of that program. The probation officer,
in consultation with the treatment provider, will supervise your participation in the program (provider, location, modality, duration,
intensity, etc.).

You must not have direct contact with any child you know or reasonably should know to be under the age of 18, including your own
children, without the permission of the probation officer. If you do have any direct contact with any child you know or reasonably
should know to be under the age of 18, including your own children, without the permission of the probation officer, you must report
this contact to the probation officer within 24 hours. Direct contact includes written communication, in-person communication, or
physical contact. Direct contact does not include incidental contact during ordinary daily activities in public places.

You must not communicate, or otherwise interact, with Victims 1, 2, and 3, either directly or through someone else, without first
obtaining the permission of the probation officer.

You must pay the costs of any future counseling for the victim(s) of the instant offense, should counseling be pursued.

You must not possess and/or use computers (as defined in 18 U.S.C. § 1030(e)(1)) or other electronic communications or data storage
devices or media without approval of the probation office.

You must advise the probation office of all computer, electronic equipment, and web-enabled equipment, including cell phones, that
you possess or to which you have access, within 24 hours of obtaining same.

You must not access the Internet except for reasons approved in advance by the probation officer.

You must submit your computers (as defined in 18 U.S.C. § 1030(e)(1)) or other electronic communications or data storage devices or
media, to a search.

You must warn any other people who use these computers or devices capable of accessing the Internet that the devices may be subject
to searches pursuant to this condition. A probation officer may conduct a search pursuant to this condition only when reasonable
suspicion exists that there is a violation of a condition of supervision and that the computer or device contains evidence of this
violation. Any search will be conducted at a reasonable time and in a reasonable manner.

You must allow the probation officer to install computer monitoring software on any computer (as defined in 18 U.S.C. § 1030(e)(1))
you use.

To ensure compliance with the computer monitoring condition, you must allow the probation officer to conduct initial and periodic
unannounced searches of any computers (as defined in 18 U.S.C. § 1030(e)(1)) subject to computer monitoring. These searches shall
be conducted for the purposes of determining whether the computer contains any prohibited data prior to installation of the monitoring
software; to determine whether the monitoring software is functioning effectively after its installation; and to determine whether there
have been attempts to circumvent the monitoring software after its installation. You must warn any other people who use these
computers that the computers may be subject to searches pursuant to this condition.

You must not possess or use any audio/visual recording or producing equipment at any location without the written approval of the
probation office. If approval is given, you must consent to the probation office or probation service representative conducting
unannounced examinations, including retrieval and copying of all data related to the equipment.

You must not view or possess any "visual depiction" (as defined in 18 U.S.C. § 2256), including any photograph, film, video, picture,
or computer or computer-generated image or picture, whether made or produced by electronic, mechanical, or other means, of
"sexually explicit conduct" (as defined in 18 U.S.C. § 2256).
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                                 SPECIAL CONDITIONS OF SUPERVISION

You must provide the probation officer with access to any requested financial information and authorize the release of any financial
information. The probation office may share financial information with the U.S. Attorney's Office.

You must not incur new credit charges, or open additional lines of credit without the approval of the probation officer.

You must apply all monies received from any anticipated and/or unexpected financial gains, including any income tax refunds,
inheritances, or judgments, to the outstanding Court-ordered financial obligation. You must immediately notify the probation office of
the receipt of any indicated monies.

If the judgment imposes a financial penalty, you must pay the financial penalty in accordance with the Schedule of Payments sheet of
the judgment. You must also notify the court of any changes in economic circumstances that might affect the ability to pay this
financial penalty.

You must participate in a mental health treatment program and follow the rules and regulations of that program. The probation officer,
in consultation with the treatment provider, will supervise your participation in the program (provider, location, modality, duration,
intensity, etc.).

You must submit to periodic physiological testing which may include but is not limited to polygraph testing at the discretion of the
probation officer as a means to ensure that you are in compliance with the requirements of your supervision or treatment program.

You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(1)), other
electronic communications or data storage devices or media, or office, to a physical or electronic search conducted by a United States
probation officer. You must warn any other occupants that the premises may be subject to searches pursuant to this condition. The
probation officer may conduct a search under this condition only when reasonable suspicion exists that you have violated a condition
of supervision and that the areas to be searched contain evidence of this violation.

You must participate in a sex offense-specific treatment program and follow the rules and regulations of that program. The probation
officer will supervise your participation in the program (provider, location, modality, duration, intensity, etc.).
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DEFENDANT:                 JOSEPH R. GUTOWSKI
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                                      CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments page.
                    Assessment                 Restitution            Fine       AVAA Assessment*                     JVTA Assessment**
 TOTALS                  $200.00               $86,500.00             $.00

 ☐ The determination of restitution is deferred until     An Amended Judgment in a Criminal Case (AO245C) will be entered
      after such determination.
 ☒    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
        § 3664(i), all nonfederal victims must be paid before the United States is paid.

Restitution of $86,500.00 to:

 April "Aprilblonde" series           Restore the Child in Trust for April          $5,000
                                      2522 N. Proctor
                                      Tacoma, WA 98406


 Chelsea "2crazygurls" series         Restore the Child in Trust for Chelsea        $5,000
                                      2522 N. Proctor
                                      Tacoma, WA 98406


 Henley "Blue Pillow1" series         Deborah Bianco PO Box 6503                    $5,000
                                      Bellevue, WA 98008


 Jenny "Jenny" series                 Marsh Law Firm Box 4668 #65135                $10,000
                                      New York, NY 10163


 L.L. "Ashley_081" Series             Shannon Conley in Trust for                   $3,000
                                      L.A.L. Trust
                                      6500 SW Macadam Avenue Suite 300
                                      Portland, OR 97239


 Maureen "Lighthouse1" series         Deborah Bianco PO Box 6503                    $10,000
                                      Bellevue, WA 98008


 PD11 "PD11" Series                   Allison McQueen of Jones Day 110     $3,000
                                      North Wacker Drive Chicago, IL 60606


 Pia "Sweet White Sugar" series       Deborah Bianco PO Box 6503                    $5,000
                                      Bellevue, WA 98008


 Lily "Vicky" Series                  Carol Hepburn in the Trust for Lily           $10,000
                                      PO BOX 17718
                                      Seattle, WA 98127
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 Cara "MotorCouch1" Series              Carol Hepburn in the Trust for Cara           $7,500
                                        PO BOX 17718
                                        Seattle, WA 98127


 Sarah "Marineland1" Series             Carol Hepburn in the Trust for Sarah          $10,000
                                        PO BOX 17718
                                        Seattle, WA 98127


 Cindy "Cindy” Series"                  Cusack and Gilfillan, LLC for Cindy           $3,000
                                        411 Hamilton Blvd.
                                        Suite 1510
                                        Peoria, IL 61602


 Sloane “Tara” Series                   Carol Hepburn in the Trust for Sloane         $10,000
                                        PO BOX 17718
                                        Seattle, WA 98127



Payments of restitution shall be made to the Clerk of the Court for transfer to the victims. The interest requirement for the
restitution is waived.
All criminal monetary penalties are due in full immediately. The defendant shall pay all criminal monetary penalties through
the Clerk of Court. If the defendant cannot pay in full immediately, then the defendant shall make payments under the
following minimum payment schedule: During incarceration, it is recommended that the defendant pay criminal monetary
penalties through an installment plan in accordance with the Bureau of Prisons' Inmate Financial Responsibility Program at
the rate of 50% of the funds available to the defendant. If the defendant owes any criminal monetary penalties when released
from incarceration, then the defendant shall make payments in monthly installments of at least $150, or no less than 10% of
the defendant's gross earnings, whichever is greater, with payments to commence no later than 30 days after release from
imprisonment. Until all criminal monetary penalties are paid in full, the defendant shall notify the Court and this district's
United States Attorney's Office, Financial Litigation Unit, of any material changes in the defendant's economic circumstances
that might affect the defendant's ability to pay criminal monetary penalties. The defendant shall notify this district's United States
Attorney's Office, Financial Litigation Unit, of any change of mailing or residence address that occurs while any portion of the
criminal monetary penalties remains unpaid.
It is recommended that the defendant participate in the Financial Responsibility Program while incarcerated, if that is consistent with
Bureau of Prisons policies.

 ☐ Restitution amount ordered pursuant to plea agreement $
 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
       payments page may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☒     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ☒ the interest requirement is waived for the          ☐ fine                            ☒ restitution
       ☐ the interest requirement for the                       ☐ fine                                ☐ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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DEFENDANT:                    JOSEPH R. GUTOWSKI
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                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ☒ Lump sum payments of $ 86,700.00 due immediately, balance due
        ☐ not later than                                        , or

        ☒ in accordance                    ☐      C,          ☐        D,       ☐       E, or       ☒       F below; or

 B      ☐ Payment to begin immediately (may be combined with                    ☐       C,          ☐       D, or              ☐       F below); or

 C      ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                                   (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment;
              or

 D      ☐ Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                                  over a period of
                                (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or

 E      ☐ Payment during the term of supervised release will commence within                       (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
              time; or

 F      ☒ Special instructions regarding the payment of criminal monetary penalties:
              It is ordered that the Defendant shall pay to the United States a special assessment of $200.00 for Counts 1r and
              2r , which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court. See
              pages 7 and 8 of this Judgment regarding payment of restitution.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☐ Joint and Several
        See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.

        ☐ Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
        loss that gave rise to defendant's restitution obligation.
 ☐      The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
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DEFENDANT:           JOSEPH R. GUTOWSKI
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USM Number:          61288-510


                                 UNITED STATES MARSHAL
                          RETURN OF JUDGMENT IN A CRIMINAL CASE

I have executed this judgment as follows:

Date defendant was delivered with certified copy of this judgment:____________________


Name and location of facility:__________________________________________________



☐ Defendant was sentenced to Time Served and was released on:______________________

☐ Defendant was sentenced to _______ months/years of Probation and was released on:__________________

☐ Defendant was sentenced to _______ months/years of Supervised Release and was released on:___________




__________________________________________________
NAME OF US MARSHAL/WARDEN



__________________________________________________
By: NAME OF DEPUTY US MARSHAL/CSO
